                       UNITED STATES DISTRICT COURT
                          Eastern District of Wisconsin


JACOB S. BLAKE, JR.,

                     Plaintiff,

      v.                                                    Case No. 21-cv-381

OFFICER RUSTEN T. SHESKEY, INDIVIDUALLY

                     Defendants.


                 JOINT STATUS REPORT OF THE PARTIES


       Pursuant to the Court’s April 25, 2022 order for submission of a Joint

Rule 26 Plan on today’s date, the parties can report to the Court that they are

in the process of completing a stipulated dismissal that we anticipate will be

entered by Friday, May 6, 2022. In light of the above, the parties respectfully

request that the status hearing scheduled for May 5, 2022 be stricken pending

submission of the stipulated dismissal.


Respectfully Submitted,

s:___Patrick A. Salvi, II________________   s: Kenneth M. Battle_____________________
Attorney for Plaintiff                      Attorney for Defendant, Officer Rusten T.
Patrick A. Salvi, II                        Sheskey, Individually
SALVI, SCHOSTOK & PRITCHARD P.C.            Kenneth M. Battle
                                            O’Connor & Battle, LLP


DATE: May 3, 2022




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